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8 UNITED STATES DISTRICT COURT
9 FOR THE CENTRAL DISTRICT OF CALIFGRNIA
10 SOUTHERN DIVISION
11 September 2015 Grand Jury
12 UNITED STATES OF AMERICA, SA CR NO. lE~63(A)-JLS
13 elainr:;,ff, § § § § _'l_j
§ § § _E_ § § § § §§ § §
M w §§a;§:r§§:
15 TODB CHRISTIAN HARTMAN, [18 U.S.C. §§ 2252A(a}(l}, (b}(l):
Traneportation o£ Child
16 Defeadant. Pornography; 18 U.S.C.
§ 2252A(a) (5}(13), €b> (2)=
17 Poesession of Child Pornography]
18
19
20 The Grand Jury chargee:
21 COUNT ONE
22 [18 U.S.C. §§ 2252A(a)(1), (b)(l)]
23 On or about October 16, 2014, in Orange County, within the
24 Central Dietrict of California, defendant TODD CHRISTIAN HARTMAN
25 knowingly transported using any means and facility of interstate and
26 foreign commerce and in and affecting interstate and foreign commerce
27 by any means, including by computer, at least one image of child
28 pornography, as defined in Title 18, United Statee Code, Sections

 

 

 

 

 

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2256(8)(A}, knowing that the image Wae child pornography, namely, a
video titled “(~pthc center~)(opva)(ZOlB) Cumming over loli_e posey

2016 7yowandead BRILLIANT.wmv.”

 

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COUNT TWO
[18 U.S.C. §§ 2252A{a){1), (b)(l)]

On or about December 29, 2014, in Orange County, within the
Central District of California, defendant TODD CHR§STIAN HARTMAN
knowingly transported using any means and facility of interstate and
foreign commerce and in and affecting interstate and foreign commerce
by any meane, including by computer, at least one image of child
pornogra§hy, as defined in Title 18, United States Code, Sectione
2256(8)(A), knowing that the image wa$ child pornography, namely, a

video titled “Kidcam m Mirey-SZY (ZOlO)phtcE!.avi."

 

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COUNT THREE
ila U.s.C. § 2252A(a) (5) (s), (b) (2)}

On or about February 5, 2015, in Orange Connty, within the
Central District of California, defendant TODD CHRISTIAN HARTMAN
knowingly possessed a Western Bigital hard drive, bearing serial
number WMATiZlBOZOB, that contained at least one image of child
pornography, as defined in Title 18, United States Code, Sections
2256(8){A), that had been mailed, shipped and transported using any
means and facility of interstate and foreign commerce and in and
affecting interstate and foreign commerce by any means, including by
computer, and that was produced using material that had been mailed,

and shipped and transported in and affecting interstate and foreign

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commerce by any means, including by computer, knowing that the image

was child pornography.

A TRUE BILL

/S/

Foreperson

EILEEN M. DECKER
Hnited States Attorney

we
LAWRENCE S. IDDLETON

Assistant ited States Attorney
Chief, Criminal Division

DENNISE D. WILLETT
Assistant United States Attorney
Chief, Santa Ana Branch Office

ANNE C. GANNON
Assistant United States Attorney
Santa Ana Branch Office

 

